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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

   IN RE GOOGLE INC. COOKIE                    CASE NO 12-MD-2358

   PLACEMENT CONSUMER PRIVACY

   LITIGATION

   This Document Relates to All Actions



   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR
      PRELIMINARY APPROVAL OF SETTLEMENT WITH GOOGLE, LLC




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     I.       INTRODUCTION

           This memorandum is the Plaintiffs’ second seeking preliminary approval of the settlement

  with Google, Inc. This Court issued both a preliminary and final approval of the settlement in

  2016 as described in detail in the memorandum, infra. After an appeal, the Third Circuit remanded

  for further attention to issues concerning the selection of cy pres recipients and issues as to the

  release of claims in a settlement under Fed. R. Civ. P. 23(b)(2). Plaintiffs and Defendants have

  cooperated to resolve these issues, and Plaintiffs present the second motion for preliminary

  approval as set out below. This memorandum incorporates the points and authorities previously

  filed, as well as the cites and references in the original declarations filed in support of the motion.

  (D.I. 163 and attachments).

     II.      NATURE AND STAGE OF THE PROCEEDINGS

           Plaintiffs Jose M. (“Josh”) Bermudez, Nicholas Todd Heinrich, and Lynne Krause

  (“Plaintiffs”), on behalf of themselves and the class defined herein, and Defendant Google, LLC

  (formerly Google Inc.) (“Google” or “Defendant”) reached a class action settlement (“Settlement”)

  (Exhibit A to the Declaration of Brian R. Strange, D.I. 163-1), in 2016 which was challenged on

  appeal by a single objector. Following remand by the Third Circuit, the parties now seek

  preliminary approval from the Court for the modified settlement.

           The background of this litigation is as follows: Plaintiffs in the Consolidated Amended

  Class Action Complaint and numerous other individuals filed complaints in various federal courts

  around the country in 2012. These actions were centralized and transferred to this Court for

  coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407 on June 12, 2012.

  On December 19, 2012, Plaintiffs filed their Consolidated Class Action Complaint against Google

  and other parties (all Defendants other than Google referred to as “Non-Settling Defendants”). On



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  June 21, 2016, Plaintiffs filed their Consolidated Amended Class Action Complaint (the

  “Complaint”).

          Plaintiffs centrally allege in the Complaint that Defendant Google circumvented Plaintiffs’

  Safari and Internet Explorer browsers and defeated the default cookie settings of such browsers in

  violation of federal and state laws. More particularly, Plaintiffs allege that when Plaintiffs and

  Class Members visited a website containing an advertisement placed by certain Defendants in this

  case, tracking cookies were placed on Plaintiffs’ computers that circumvented Plaintiffs’ and Class

  Members’ browser settings that blocked such cookies. Plaintiffs allege Defendant’s secret and

  unconsented use of those cookies knowingly intercepted and gained access to Plaintiffs’ and Class

  Members’ 1 internet communications and activity in violation of federal statutes and state laws.

  Google denies these claims.

          Google filed a motion to dismiss all the claims against it on January 22, 2013 (D.I. 56) and,

  on October 9, 2013, this Court granted the motion to dismiss in its entirety and dismissed this case

  (D.I. 122). On November 10, 2015, the Third Circuit Court of Appeals affirmed the dismissal of

  the three federal law claims brought against all Defendants, vacated the District Court’s dismissal

  of Plaintiffs’ freestanding privacy claims against Google under the California Constitution and

  California tort law, and affirmed the dismissal of the remainder of Plaintiffs’ state law claims.

          On March 10, 2016, Plaintiffs filed a Petition for Writ of Certiorari with the United States

  Supreme Court, seeking review of the Third Circuit’s Opinion. On May 9, 2016, Lead Counsel

  for Plaintiffs (Brian R. Strange, James P. Frickleton, and Stephen G. Grygiel (hereinafter, “Class

  Counsel”)) and counsel for Google participated in a private mediation before Retired Federal Judge



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           The Settlement Class consists of all persons in the United States of America who used the Apple Safari or
  Microsoft Internet Explorer web browsers and who visited a website from which Doubleclick.net (Google’s
  advertising serving service) cookies were placed by the means alleged in the Complaint.


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  Layn Phillips. The parties exchanged extensive briefing, participated in pre-mediation phone calls,

  and engaged in an all-day mediation on May 9, 2016. During the mediation, Plaintiffs and Google

  agreed to the basic terms of this Settlement, which were later memorialized in a final document

  executed by all parties and Class Counsel as of June 30, 2016. See Strange Decl. D.I. 163-1,¶ 7;

  Grygiel Decl. D.I. 163-2, ¶¶ 7–9; Frickleton Decl. D.I. 163-3, ¶ 4.

         The Court, prior to final approval, received fifty requests for exclusion and only one

  objection. The lone objector challenged this Court’s certification of the settlement class and the

  terms of the approved settlement. This Court overruled the objections and the objector appealed.

  The Third Circuit, applying In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d Cir.

  2004), approved the settlement in most respects assuming, without holding, that the presumption

  of fairness attached. In re: Google Inc. Cookie Placement Consumer Privacy Litigation, 934 F.3d

  316, 326 (2019), fn. 8. The objector did not challenge numerosity, typicality, commonality, or

  adequacy of representation. The Third Circuit, applying In re Nickelodeon Consumer Privacy

  Litigation, 827 F.3d 262, 273–74 (3d Cir. 2016), determined that there was Article III standing in

  this case. 941 F.3d at 325. For purposes of this motion, those issues are the settled law of the

  case. Todd & Co., Inc. v. SEC, 637 F.2d 154, 157 (3d Cir.1980) (doctrine applies “to issues that

  were actually discussed by the court in the prior appeal [and] to issues decided by necessary

  implication.”). The Third Circuit remanded this case for consideration of two issues:

     •   Whether the cy pres recipients were chosen on their merits. Id. at 330, and

     •   Whether the class-wide release of damages was appropriate in a class certified

         under Rule 23(b)(2); In Re Google, 934 F.3d. at 329.

         Plaintiffs on remand, in order to address the Circuit Court’s concerns regarding the

  propriety of the release, now request certification of the class under both Fed. R. Civ. P. 23(b)(2)




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and (3). In accordance with the terms of the settlement agreement that requires the parties to

cooperate on administrative and procedural matters in order to consummate the purpose and spirit

of the agreement, the settlement relief has been modified so that a neutral third party appointed by

the Court will choose the cy pres recipients, thereby obviating any concerns regarding their

selection. Plaintiffs now show the settlement’s release of damages claims is appropriate under

Fed. R. Civ. P. 23(b)(3) and meets all the requirements of the rule. Plaintiffs request factual

findings from this Court at the final approval hearing. Having modified the cy pres process as

stated, the parties have satisfied the Third Circuit’s concerns and now seek preliminary approval

of the modified Settlement.

   III.      SUMMARY OF ARGUMENT

          All of the requirements of class certification are met, and the Settlement Class should be

certified under Rule 23(a) and (b)(2) and (b)(3) of the Federal Rules of Civil Procedure

(hereinafter, “Rule 23”).      As noted supra this Court’s prior determinations with regard to

numerosity, commonality, typicality and adequacy of representation went unchallenged and

remain the law of the case.

          Because the notice given when this class was originally certified meets the requirements

both of Rule 23(b)(2) and 23(b)(3), Plaintiff need only demonstrate that this notice was and

continues to be the best notice practicable under the circumstances. Eisen v. Carlisle & Jacquelin,

417 U.S. 156, 173 (1974). Thus, this Court need not enter an order for additional notice if it finds,

as the evidence supports, that the notice already given meets the requirements of the rule, and class

members have been advised of their rights under the settlement.

          The key issues before the Court now that Plaintiffs are moving for certification under Rule

23(b)(3) are those two set out by the Third Circuit, above, and the issues of predominance and




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superiority required by Rule 23(b)(3). This memorandum sets forth the key terms of the settlement

agreement and the one minor change since the original notice and approval 2, as well as the issues

of predominance and superiority under Rule 23(b)(3). The memorandum then sets out the settling

class member’s response to the issues raised by the Third Circuit.

    IV.      TERMS OF THE PROPOSED SETTLEMENT

          The proposed Settlement with Google was reached following extensive arms-length

negotiations between Plaintiffs’ counsel (Brian R. Strange, Stephen G. Grygiel, and James P.

Frickleton), on the one hand, and Google on the other hand. Plaintiffs and Google discussed for

several months the possibility of settling Plaintiffs’ claims against Google. Following the

mediation and back-and-forth negotiations and discussions, the parties agreed upon and executed

a formal settlement agreement. Throughout the course of settlement negotiations, the parties took

into consideration potential liability and damage issues; the risks of dismissal, class certification,

summary judgment, and trial; the possibility of appeals of any judgment and/or rulings of the trial

court; and how these factors could add to the cost, delay, and uncertainty of litigation. Class

Counsel believes the proposed Settlement is fair and reasonable and should be approved by this

Court. See Strange Decl. D.I. 163-1, ¶ 8; Grygiel Decl. D.I. 163-2, ¶ 6-9; Frickleton Decl. D.I.

163-3, ¶ 4. See also additional Declarations filed by class counsel contemporaneously with this

motion.

    A.       THE PROPOSED SETTLEMENT CLASS

          Plaintiffs request that, pursuant to the terms of the Settlement, the Court certify the

following proposed Settlement Class:


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         § 15.5 of the Settlement Agreement required the parties “to cooperate fully and to take all additional action
that may be necessary or appropriate to give full force and effect to the basic terms and intent of this Agreement.”
To that end the parties conferred and revamped the selection of the cy pres recipients in order to meet the Third
Circuit’s objections expressed in that Court’s opinion.


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        All Persons in the United States of America who used the Apple Safari or Microsoft
        Internet Explorer web browsers and who visited a website from which
        Doubleclick.net (Google’s advertising serving service) cookies were placed by the
        means alleged in the Complaint.

Settlement Agreement (“S.A.”), Strange Decl., D.I. 163-1, ¶ 3, Ex. 1, § 2.3.

   B.      ASSURANCES BY GOOGLE

        The Settlement confers substantial benefits upon the Settlement Class, particularly in light

of the potential recovery provable at trial and given the costs, uncertainties, delays, and other risks

associated with continued litigation, trial, and/or appeal. The settlement provides that Google fully

remediate the allegedly wrongful conduct. Specifically, Google will provide Class Counsel with

assurances that it has implemented systems configured to instruct Safari browsers to expire any

cookie placed from the doubleclick.net domain by Google if those systems encountered such a

cookie, with the exception of the DoubleClick opt-out cookie, until the time that all cookies placed

from the doubleclick.net domain by Google on Safari browsers through February 15, 2012 should

have expired by design. Id. § 5.1.

   C.       THE CY PRES PAYMENTS

        Google shall deposit $500,000 in an interest-bearing Settlement Account within 21 days of

the entry of the Preliminary Approval Order. Id. § 5.2.2. Google shall deposit an additional sum

of $5,000,000 in the Settlement Account within 10 days of the Effective Date of the Settlement,

as defined in the Settlement Agreement. Id. These monies, including any accrued interest and less

any expenses for the Settlement Administrator, the Notice Plan, the Fee Award, the Incentive

Awards, and any other notice fees or costs, shall be paid to cy pres recipients determined in the

following manner:

           •   Up to ten (10) cy pres recipients will be selected by a third-party neutral and not by

               the parties;



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           •   This Court, in the preliminary approval order, will appoint a third-party neutral to

               select the proposed cy pres recipients;

           •   Recipients have to satisfy eligibility criteria identified in the agreement establishing

               a sufficient nexus between their work and the injuries claimed by the class members

               or the principles the litigation sought to vindicate (William B. Rubinstein, et al.,

               Newberg on Class Actions §12.33 (4th ed. 2002), specifically, be recognized leaders

               in the fields of online privacy, safety, and/or advocacy and agree to devote the funds

               to promote public awareness and education and/or to support research,

               development, and initiatives related to the security and/or privacy of Internet

               browsers;

           •   Recipients must agree to use funds for purpose identified in the agreement;

           •   Recipients must agree to submit a sworn declaration that (1) confirms their

               eligibility; (2) confirms their promise to use funds in accordance with the

               agreement; and (3) discloses any existing or prior relationship to the court, parties,

               and counsel, including prior donations or cy pres distributions from the parties; and

           •   Recipients must agree to send a witness to the final approval hearing to respond to

               the Court’s questions regarding their use of funds.

        Based on the size of the Class in this case, estimated to be millions of individuals,

distribution of the settlement fund to the cy pres recipients above, is the most efficient and best use

of the settlement proceeds. Frickleton Decl., D.I., 163-3, ¶ 5.

   D.      COSTS OF SETTLEMENT ADMINISTRATION

        Google has agreed to pay all reasonable Settlement Administrator expenses up to $500,000,

which are to be paid from the Settlement Fund. S.A. § 7.1.



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   E.      PLAINTIFFS’ LITIGATION COSTS AND FEES

        As part of the prior settlement approval process, the court considered and approved

Plaintiffs motion for attorney fees and expenses, awarding $1,925,000 in fees and $90,929.26 in

expenses. D.I. 173. Although attorneys for the consolidated action have expended significant

additional time representing the class in the various appeals of this case, counsel do not intend to

seek additional fees for such work. Counsel therefore believes that if this court approves the

settlement that the prior fee award, having not been challenged on appeal is the settled law of the

case.

   F.      INCENTIVE PAYMENTS TO CLASS REPRESENTATIVES

        Subject to the Court’s approval, Class Counsel may move the Court for, and Google will

not contest, incentive payments in a total amount not to exceed $3,000 ($1,000 per Class

Representative), to be paid from the Settlement Fund. Id. § 11.2.

   G.      RELEASE BY SETTLEMENT CLASS MEMBERS

        Following entry of the Final Order and Judgment, as defined in the Settlement Agreement,

the Class will have released the “Released Parties” from the “Released Claims,” all as defined in

the Settlement Agreement, including a waiver of California Civil Code § 1542. Id. § 10. The

Released Claims, as defined, will include all claims raised or which could have been raised in the

Complaint based on the factual allegations.

   V.      THE SETTLEMENT CLASS SHOULD BE CERTIFIED UNDER RULE 23(A)
           AND (B)(2) AND (B)(3)

        When a class settlement occurs before class certification has taken place, a court may

conditionally certify the case for settlement purposes. In re Prudential Ins. Co. Am. Sales Practice

Litig. Agent Actions, 148 F.3d 283, 307 (3d Cir. 1998). The court uses the same Rule 23

requirements whether it certifies the class for trial or settlement. Id. When certification is sought



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under Rules 23(a) and (b)(2), the Court’s threshold task is to preliminarily determine whether the

proposed settlement class satisfies the numerosity, commonality, typicality, and adequacy

requirements of Rule 23(a), and the requirement of Rule 23(b)(2) that the Defendant acted on

grounds generally applicable to the class, thereby making final injunctive relief appropriate with

respect to the class as a whole.

        This Court has already undertaken that analysis and it is law of the case. Todd, 637 F.2d

154. In addition to the requirements of Rule 23(b)(2), Rule 23(b)(3) requires an analysis of

predominance and superiority in order to certify a class action.

   A.      COMMON ISSUES PREDOMINATE

        “To satisfy the predominance requirement in Rule 23(b)(3), a plaintiff must establish that

the issues in the class action that are subject to generalized proof, and thus applicable to the class

as a whole, predominate over those issues that are subject only to individualized proof.” Beattie v.

CenturyTel, Inc., 511 F.3d 554, 564 (6th Cir. 2007) (internal citations and quotations omitted).

“The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently cohesive

to warrant adjudication by representation.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 622–

23 (1997). “It is not necessary that all of the elements of the claim entail questions of fact and law

that are common to the class, nor that the answers to those common questions be dispositive.”

CGC Holding Co., LLC v. Broad & Cassel, 773 F.3d 1076, 1087 (10th Cir. 2014). “Put differently,

the predominance prong ‘asks whether the common, aggregation-enabling, issues in the case are

more prevalent or important than the non-common, aggregation-defeating, individual issues.’” Id.,

quoting 2 William B. Rubenstein et al., NEWBERG ON CLASS ACTIONS § 4:49, at 195–96 (5th

ed. 2012). That a particular defense “may arise and may affect different class members differently




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does not compel a finding that individual issues predominate over common ones.” Beattie, 511

F.3d at 564.

        Here, on the two remaining counts, the single predominant issue is whether Defendants

violated consumers’ privacy rights by using cookies to knowingly intercept internet

communications of the putative class; and this issue is common to all class members. If no cookies

were used, the class would lose on these counts. The common operative facts are the significant

central issue in the case and can be best resolved in a single adjudication. Thus, the first

requirement of Rule 23(b)(3) is satisfied.

   B.      A CLASS ACTION IS THE SUPERIOR METHOD OF ADJUDICATION.

        Rule 23(b)(3) further requires a class action be superior to other available methods for the

fair and efficient adjudication of the controversy. Fed. R. Civ. P. 23(b)(3). “In balancing the

relative merits of a class action versus alternative available methods of adjudicating the

controversy, the trial court may consider: ‘the inability of the poor or uninformed to enforce their

rights, and the improbability that large numbers of class members would possess the initiative to

litigate individually.’” Haynes v. Logan Furniture Mart, Inc., 503 F.2d 1161, 1165 (7th Cir.1974).

As explained by the United States Supreme Court:

        The policy at the very core of a class action mechanism is to overcome the problem
        that small recoveries do not provide the incentive for any individual to bring a solo
        action prosecuting his or her rights. A class action solves this problem by
        aggregating the relatively paltry potential recoveries into something worth
        someone’s (usually an attorney’s) labor.”

Amchem, 521 U.S. at 617 (citing Mace v. Van Ru Credit Corp., 109 F.3d 338, 344 (7th Cir. 1997)).

“[O]ne of the primary functions of the class suit is to provide a device for vindicating claims which,

taken individually, are too small to justify legal action but which are of significant size if taken as

a group.” Brady v. LAC, Inc., 72 F.R.D. 22, 28 (S.D.N.Y. 1976). The class action is especially




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preferred when a large number of small or medium sized claimants may be involved because “[i]n

light of the awesome costs of discovery and trial, many of them would not be able to secure relief

if class certification were denied.” In Re Folding Carton Antitrust Litigation, 75 F.R.D. 727, 732

(N.D. Ill. 1977).

   1. The Interest of Members of The Class in Individually Controlling the Prosecution of
      Separate Actions is Minimal.

       Damages to a party’s privacy rights are inherently difficult to quantify. Expert testimony

would be required, as would expert testimony on the operation of computer-based cookies.

Litigation costs for an individual class member would be virtually certain to exceed the maximum

possible recovery, making litigation of individual cases highly impractical and any victory pyrrhic

at best. Given the extensive discovery needed in this case, including multiple depositions,

litigation costs for an individual class member would likely exceed the maximum possible

recovery, making litigation of individual cases cost prohibitive for all but the wealthiest class

members. See In re Motor Fuel Temperature Sales Practices Litig., No. 07-MD-1840-KHV, 2015

WL 5010048, at *12 (D. Kan. Aug. 21, 2015) (“[I]n light of the limited size of any potential

financial recovery for any particular class member and the possibility of inconsistent results, a

class action is a far superior method of resolving the claims compared to individual suits.”).

       The “most compelling rationale for finding superiority in a class action” is the case of a

“negative value suit” where the stakes to each member are too slight to repay the cost of the suit.

Allison v. Citgo Petroleum Corp., 151 F.3d 402, 420 (5th Cir. 1998). “This factor is most relevant

where each class member has suffered sizeable damages or has an emotional stake in the litigation

. . . where the damages each plaintiff suffered are not that great, this factor weighs in favor of

certifying a class action.” Haley v. Medtronic, Inc., 169 F.R.D. 643, 652 (C.D.Cal. 1996) (citing

In re Northern Dist. Cal., Dalkon Shield, Etc., 693 F.2d 847, 856 (9th Cir. 1982)).



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         This case does not present a situation where each class member has suffered sizeable

damages or has an emotional stake in the litigation, such as in a personal injury case. Accordingly,

the interest of class members in individually controlling their own litigation is minimal. Moreover,

the litigation having settled makes predominance less of an issue given that no proof on the

contested issues – class wide or individual – will be necessary if the Court approves this settlement.

    2. The Extent and Nature of Litigation Already Commenced by Members of the Class
       Supports Certification.

         Only fifty individuals requested exclusion from the original class action settlement, and

Plaintiff is unaware of any sizeable number of lawsuits concerning Google’s alleged conduct in

this matter. While Google is battling its share of lawsuits nationally, its December 2018 10K

report with the SEC makes no mention of similar privacy lawsuits. Accordingly, there is not

significant litigation already underway by class members against Defendants based on the cookies

at issue and this factor weighs in favor of certification as a class action at the settlement stage.

    3.   It is Desirable to Concentrate the Litigation in this Forum.

         Concentrating the claims of the class in this forum is desirable. Google is a Delaware

corporation. There is an adequate Plaintiff and competent counsel willing to pursue the claims of

the class within this forum, and there is no other pending action pursing the claims of the proposed

class.

    4. There are no Unusual Difficulties Likely to be Encountered in the Management of the
       Case

         There are no unusual difficulties likely to be encountered in the management of this case

as a class action at the settlement stage. Amchem, 521 U.S. at 620, 117 S.Ct. 2231 (in a settlement-

only class certification, “a district court need not inquire whether the case, if tried, would present

intractable management problems ... for the proposal is that there be no trial”). Courts have




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managed scores of class actions at settlement with no unusual difficulty. In re Warfarin Sodium

Antitrust Litigation, 391 F.3d 516, 530 (3rd Cir. 2004); In re Prudential Ins., 148 F.3d at 307.

        Any difficulty encountered in the management of this as a class action is far outweighed

by the difficulties that would be encountered by the joinder of hundreds of thousands of separate

suits. This case presents no more difficulty to manage than other class actions, including securities

litigation and consumer fraud cases. Accordingly, this factor weighs in favor of class certification.

        Thus, because common questions of law and fact predominate in this action and a class

action is the superior method of adjudicating the claims alleged in this case, the Rule 23(b)(3)

requirements are satisfied.

   C.      PROPRIETY AND SUFFICIENCY OF NOTICE

   1.   Sufficiency of Notice was Never Challenged

        Although the Objector argued against a cy pres settlement and against certain cy pres

recipients, no objector complained that notice was insufficient or did not reach a sufficient number

of computer users. See declaration of Brian Strange at ¶ 24.

   2.   This Court Previously Approved the Notice in all Respects

        The Court preliminarily approved the Settlement on August 31, 2016. (D.I. 164.)

Beginning on September 12, 2016, and continuing until October 24, 2016, Notice of the Proposed

Settlement with Google (“Notice”) was disseminated to potential members of the Class via online

advertisements on the Audience Network Buy and Pulpo Media networks, as well as through

targeted social media advertising on Facebook, designed by the Class Administrator to reach the

broadest possible audience of potential Apple Safari and Microsoft Internet Explorer web

browsers. See Declaration of Stephen J. Cirami Regarding Settlement Administration (“Cirami

Decl.”) D.I. 163-4, ¶¶ 6–9 & Ex. C and also Declaration of Amanda Sternberg ¶¶ 5-9. A Summary




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Notice was also published in the October 17, 2016 issue of People Magazine, a nationally

distributed and widely read magazine. D.I. 163-4 ¶ 10 & Ex. D. 3 A website containing the long-

form Notice of the Settlement was also established and, as of December 30-2019, was visited at

least 568,891 times. See Sternberg Declaration ¶ 10. 4

        The deadline for exclusions from the Settlement was November 27, 2016, and the deadline

for objections was December 21, 2016. See Notice §§ 10, 11. The Class Administrator received

50 timely requests for exclusion from the Settlement. See Cirami Decl. ¶ 12 & Ex. G. Class

Counsel received only one objection to the Settlement which this court summarily overruled in

initially approving the settlement. See Strange Decl. at ¶ 3.

        In initially approving the settlement as a Rule 23(b)(2) class this Court found the

settlement’s notice accurately described the litigation and the settlement met the requirements of

Rule 23, comported with Due Process, and as a result, it approved the notice. That was the correct

analysis. While the objector did not specifically take aim at the notice in this case, the Third Circuit

said:

        We also question, and leave to the District Court on remand, whether a defendant
        can ever obtain a class-wide release of claims for money damages in a Rule 23(b)(2)
        settlement, and if so, whether a release of that kind requires a heightened form of
        notice either under Rule 23(c)(2)(B) or due process tenets.

934 F.3d at 329-30. Plaintiffs have now moved to certify the class under both Rule 23(b)(2) and

(b)(3) to address this issue.



3
          The Notice and Summary Notice informed potential Class Members that Interim Co-Lead Counsel would
be requesting permission to use a portion of the Settlement Fund to pay for attorneys’ fees and expenses. See Cirami
Decl. Exs. D & E. The fees and expenses granted by this court during the previous approval process, as described
above, to be paid from the Settlement Fund, represents a fair and reasonable amount to compensate Class Counsel
for their representation of the Class in preparing, filing, and litigating this case through two complex appeals.
Settlement Agreement (“S.A.”) §§ 11.1, 11.2.
4
          In accordance with the Preliminary Approval Order and the Class Action Fairness Act of 2005, 28 U.S.C.
§§ 1711, et seq., the Class Administrator notified the appropriate state and federal officials of the proposed
Settlement on September 8, 2016. Cirami Decl. ¶ 5 & Exs. A, B.


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        Fed. R. Civ. P. 23(c) requires the best notice practicable under the circumstances. Fed. R.

Civ. P. 23(c). Eisen, 417 U.S. at 173. If this Court grants approval under Rule 23(b)(3), it moots

the need to decide the “enhanced notice” issue with regard to Rule 23(b)(2).             The record

demonstrates the notice that has already been given meets the notice requirements of Rule 23(b)(3)

and that no other or further notice need be given. This is because there has only been one non-

substantive change in the way cy pres recipients are determined while the rest of the settlement

remains the same. Likewise, technical obstacles to identifying class members, and set out below,

exist as before.    Individualized notice is required to those who can be identified “through

reasonable effort.” Eisen, 417 U.S. at 173. Because neither Microsoft Explorer nor Apple’s Safari

were individually registered, individualized notice to specific users is impossible through

reasonable effort, and the targeted electronic notice already given satisfies both the rule and due

process. See Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 313, 70 S.Ct. 652, 94

L.Ed. 865 (1950).

   3.   The Settlement Terms Are Essentially Unchanged

        The structure, timing, and disposition of funds set out in the settlement have not changed.

While the appointment of a third party neutral to choose cy pres recipients has been substituted for

the six named entities, the remainder of the settlement has not changed. The only substantive

change is with Plaintiffs requesting certification under Rule 23(b)(3) in addition to (b)(2).

        Defendant is not gaining additional concessions, and Plaintiffs are not gaining any

additional benefits. The payments from Google will continue to benefit only the cy pres recipients

in what the Third Circuit described as a settlement that “would be used for a purpose directly and

substantially related to the class’s interests,” 934 F.3d at 329-30, and that belongs to the class as

a whole rather than any individual. Id. at 328. Additional notice delineating an additional




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subparagraph of the rule under which the case is certified would add nothing to the understanding

of the individual consumer and might create confusion.

      4.   The Technical Barriers to Individualized Notice Remain

           Unlike specialized software for word processing, tax preparation, or accounting, internet

browsers normally are supplied as a part of the operating system of a computer and are not

separately registered. Not all personal computers users search with Google 5. Not all personal

computers users deploy Microsoft’s Explorer or Apple’s Safari browsers. Apple Computer

supplies Safari with its operating system. Microsoft supplies Internet Explorer (now Edge). Yet,

not every user employs these standard browsers 6. For those reasons a list of all Apple users would

not be a list of class members any more than a list of all Microsoft Windows users would be.

These technical issues limit the ability to provide individualized notice.

      5.   Targeted Electronic Notice was Used and Satisfies Due Process

           Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 313, 70 S.Ct. 652, 94 L.Ed.

865 (1950) set the due process standard for notice. It said notice must be “reasonably calculated,

under all the circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections.” Id. at 314, 70 S.Ct. 652. It went on to comment

that:

           The means employed must be such as one desirous of actually informing the
           absentee might reasonably adopt to accomplish it. The reasonableness and hence
           the constitutional validity of any chosen method may be defended on the ground
           that it is in itself reasonably certain to inform those affected....

Id.




5
         Search engines like Yahoo, Bing, Dogpile, DuckDuckGo and Start Page all exist as alternatives to Google,
and thus a comprehensive list of all users of operating systems would not reflect class membership.
6
         Firefox, Opera and Chrome have wide support in both PC and Apple user groups.


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       Rule 23 and Eisen, 417 U.S. 156, require identification through “reasonable effort.” Case

law provides useful comparisons of notice that meets the standard. DeJulius v. New England

Health Care Employees Pension Fund, 429 F.3d 935 (10th Cir. 2005) involved a class action where

notice was challenged post-judgment. In that case the parties challenging were class members

who did not receive actual notice. The Circuit court held that lack of timely, actual notice of

settlement to some class plaintiffs did not render the overall notice scheme violative of due process

or otherwise unfair. Shares of the stocks at issue were held by brokerage firms as nominees for

the actual class members. Notice to the holders in the “street name” did not uniformly get passed

to the actual owners. There 70% of the class members got their notices less than 32 days before

the opt-out deadline. However, only the parties before the Court claimed they received them after

the deadline. The Court there noted that in Silber v. Mabon, 18 F.3d 1449, 1452, 1454 (9th

Cir.1994) over 1000 notices were mailed after the deadline, and the notice scheme still met the

requirements of due process. DeJulius, 429 F.3d at 947.

       In re Domestic Air Transp. Antitrust Litigation, 141 F.R.D. 534 (N.D. Ga. 1992) also

provides guidance. The class members in that case were purchasers of airfares (as opposed to

travelers on the defendant’s airlines) who could not be identified by reasonable methods. The

defendants had all readily attested to the fact these purchasers could not be identified and that they

had no records to do so. Id. at 539, 540. Only when class certification loomed did defendants

change tactics and insist that a list of 9,300,000 names compiled from TRW was a list of class

members. The Court rejected this analysis and found as a fact that class members could not be

identified by reasonable methods. After carefully analyzing the plaintiffs’ class notice plan

consisting of multiple published notices in multiple newspapers as well as news weeklies (Time,

Newsweek), the Court approved the notice plan saying:




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         There is no question that where the name and last known address of a class member
         or individual party is known or is capable of being readily identified from available
         business or public records, individual notice must be given. Eisen, 417 U.S. at 175,
         94 S.Ct. at 2151… However, where the names and addresses of the entire class are
         not readily available from existing records, individual notice is only required under
         Rule 23 where identification is possible through reasonable efforts.

Id. at 539. See also In re “Agent Orange” Product Liability Litigation, 818 F.2d 145, 168 (2d

Cir.1987), cert. denied, 484 U.S. 1004, 108 S.Ct. 695, 98 L.Ed.2d 647, 648 (1988) (“Rule 23, of

course, accords considerable discretion to a district court in fashioning notice to a class.” ); Berland

v. Mack, 48 F.R.D. 121, 129 (S.D.N.Y.1969) (“Rule 23 contemplates cooperative ingenuity on the

part of counsel and the court in determining the most suitable notice in each case.”).

         Here the class members had their privacy invaded while using an internet browser. Given

the carefully and specifically crafted mechanism for notice here, specifically online advertisements

on multiple networks (viewed through internet browsers), as well as targeted social media

advertising on Facebook, designed by the Class Administrator to reach the broadest possible

audience of potential Apple Safari and Microsoft Internet Explorer web browsers (D.I. 163-4 ¶ 8-

23), it is quite likely that anyone who had been affected by the invasion of their privacy was

informed by the notice.

         As set out above, the evidence before the Court in the earlier motion for approval presented

the Court with the best possible notice under the circumstances, and the Court found notice

acceptable. Neither Due Process nor Rule 23 require the impossible, and thus the best notice

reasonably practicable here is the notice that has already been provided.

    D.      THE RELEASE IS PROPER AND NOT OVERBROAD

         The Third Circuit questioned, and left “to the District Court on remand, whether a

defendant can ever obtain a class-wide release of claims for money damages in a Rule 23(b)(2)

settlement…” Google, 934 F.3d at 329. With the addition of certification under rule 23(b)(3), that



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issue need not be decided. However, Plaintiffs and Google believe such a release is proper in this

circumstance for the reasons set out in this motion and memorandum.

        First, a damage claim for a loss of privacy essentially comes down to what a jury would do

in a given case where proving monetary loss might be difficult, but where an intentionally-inflicted

invasion of privacy, however defined, associated with a loss of control over private information

might well compel a jury to provide money damages. While there were only fifty persons opting

out of the class, thereby demonstrating a tepid degree of interest in damages, even if only ten

lawsuits were filed Google would be required to defend them and would necessarily have the costs

and expenses associated therewith. While those claims would be difficult for the reasons expressed

herein, they would nonetheless be viable based on the Third Circuit’s prior ruling in this case.

According to one source, the average outside litigation cost for companies responding to a Duke

University Law School survey was nearly $115 million in 2008, up 73 percent from $66 million

in 2000 7. The ratio of pages discovered to pages entered as exhibits is as high as 1000/1. In 2008,

on average, 4,980,441 pages of documents were produced in discovery in major cases that went to

trial – but only 4,772 exhibit pages actually were marked 8. Google has serious economic risk

should even one of the privacy lawsuits reach a jury but would have costs even if one did not.

Before paying out millions of dollars to settle a claim, it needed to ensure that it was capping that

risk.

        And, while the settlement provides injunctive relief similar to that obtained by the FTC in

its litigation, the FTC settlement is not privately enforceable. The Google settlement can be




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         Litigation Cost Survey of Major Companies, Lawyers for Civil Justice, at 3, submitted May, 2010, and
found on the US Courts website at
https://www.uscourts.gov/sites/default/files/litigation_cost_survey_of_major_companies_0.pdf
8
         Id.


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enforced against Google, creating a strong incentive for the company to operate within the

settlement’s restrictions.

        To put this in contract terms, Google’s commitment to do things it was not required to do

(stop using the offending cookies, grant an enforceable right to privacy relief and pay cy pres

damages of $5,500,000.00) is good and sufficient consideration for the release of inchoate

damages claims that are difficult to value. Davis v. Wells, 104 U.S. 159 (1881) (“It is not material

that the expressed consideration is nominal. … A stipulation in consideration of one dollar is just

as effectual and valuable a consideration as a larger sum stipulated for or paid.”); In re American

Coils Co., 187 F.2d 384 (3rd Cir. 1951)(“A very slight advantage to one party or a trifling

inconvenience to the other is a sufficient consideration to support a contract ….”).

        Certification of this class action settlement under both Rule 23(b)(2) and (b)(3) satisfies

the concerns of the Third Circuit in this case, and provides the benefit of the bargain to the class

as a whole under the cy pres doctrine, and Google as defendant. It is fair, reasonable, and adequate

under the circumstances. The release is not overbroad given the equities at issue here.

   E.      SELECTION OF CY PRES RECIPIENTS FOLLOWS THIRD CIRCUIT SUGGESTION

        The Third Circuit directed this Court to “consider whether these cy pres recipients have

significant prior affiliations with Google, class counsel, or the Court, and, if so, whether the

selection process failed to satisfy Rule 23(e)(2) by raising substantial questions whether the

recipients were chosen on the merits.” Google, 934 F.3d at 331. It then noted that the “parties

may also want to involve class members or a neutral participant in the selection of recipients to

ward off any appearance of impropriety.” Id. The parties have implemented the Circuit Court’s

direction and have requested that this Court appoint a third-party neutral with no affiliation to

either party to choose the cy pres recipients. Should the Court do so, all of the Third Circuit’s




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objections to the settlement will have been properly dealt with. As noted supra, this is now

incorporated into the modified settlement agreement as the only procedural change.

   VI.      CONCLUSION

         The Third Circuit approved the settlement in most respects but remanded for two

significant issues. Those issues have been fully addressed by the parties through arms-length

negotiations conducted in good faith. The issue with cy pres recipients has been remedied through

appointment of a neutral as suggested by the Third Circuit, and the issue with notice has been

addressed by requesting certification under Rule 23(b)(3). For all these reasons the Plaintiff

requests that this Court issue an order preliminarily approving the settlement and setting a final

approval hearing.

Dated: January 3, 2020

                                     Respectfully submitted,

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